                 RENDERED: AUGUST 16, 2024; 10:00 A.M.
                       NOT TO BE PUBLISHED

                Commonwealth of Kentucky
                          Court of Appeals
                             NO. 2023-CA-0965-MR

DARRICK AUSTIN                                                     APPELLANT


                APPEAL FROM JEFFERSON CIRCUIT COURT
v.               HONORABLE BRIAN C. EDWARDS, JUDGE
                        ACTION NO. 21-CI-004847


SUSAN PATTON AND
BILLY FREEMAN, JR.,
INDIVIDUALLY AND IN HIS
CAPACITY AS EXECUTOR OF THE
ESTATE OF ROBERT LANDERS, SR.                                      APPELLEES


                                   OPINION
                                  AFFIRMING

                                 ** ** ** ** **

BEFORE: CETRULO, L. JONES, AND LAMBERT, JUDGES.

CETRULO, JUDGE: Decedent testator’s son challenged his father’s will on

grounds of lack of testamentary capacity and undue influence. The Jefferson

Circuit Court granted summary judgment in favor of the beneficiaries and

dismissed the action. After review, we affirm.
                                  I.     BACKGROUND

              In June 2019, Robert Landers, Sr. (the “testator,” or “father”),

executed the will in question at 83 years old. In the will, the testator named his

long-time paramour, appellee Susan Patton (“Susan”), as primary heir and primary

executor, and her son, appellee Billy Freeman, Jr. (“Billy”), as successor heir and

successor executor (jointly, “the heirs”). Additionally, the will stated, “I

intentionally leave nothing to my four (4) children.” The testator made one special

bequest – his firearms to his brother – but bequeathed the residue of his estate to

Susan. The record is inconsistent as to what comprised the estate,1 but it may have

included a residence in Louisville; one-third interest in two lots in Louisville;

household goods; two boats; a yellow bulldozer, and a blue farm tractor.

              In February 2021, approximately 19 months after executing the will,

the testator died at 84 years old. According to his death certificate, the testator

died of “sepsis; chronic obstructive pulmonary disease; CKD [chronic kidney

disease], stage III; CHF [congestive heart failure]; dementia[.]”2


1
 In October 2021, the heirs argued that the testator had “nary a penny to his name[,]” but there
were competing probate petitions in Jefferson District Court listing varying assets and values.
Darrick’s probate petition – Case No. 21-P-001090 – estimated the testator’s assets at
approximately $231,603. Billy’s probate petition – Case No. 21-P-001241 – estimated an
overlapping, but distinct, list of assets at $329,150. We take judicial notice of these probate
petitions located within the online Kentucky court system. See Polley v. Allen, 132 S.W.3d 223,
226 (Ky. App. 2004).
2
 In a February 2022 order, the circuit court stated the testator died “presumably from dementia
or Covid-pneumonia.”

                                              -2-
              In August 2021, appellant Darrick Austin (“Darrick”), one of the

testator’s children, filed a complaint in Jefferson Circuit Court alleging the

testator’s will was invalid due to a lack of testamentary capacity and undue

influence. Darrick argued the testator suffered from dementia and other mental

illness, and that the will itself evidenced a lack of capacity as the testator had seven

living children, not four.3 Also, Darrick asserted the heirs exerted undue influence

over the testator and improperly prevented contact between the testator and his

children prior to his death. Billy, as executor, and Susan, as primary heir,

responded and denied Darrick’s accusations.

              In October 2021, Darrick moved for summary judgment. He again

challenged the will due to lack of capacity and undue influence, and submitted a

personal affidavit citing examples of the testator’s poor mental health including:

the testator caused one of his children to die from malnutrition, caused two other

children to be hospitalized from malnutrition, was convicted of sodomizing one of

his daughters, bequeathed items to a previously deceased brother, destroyed a boat

with a bulldozer after forgetting he had earlier given the boat away, repeated

statements “over and over, within the same hour,” and appeared generally unwell.


3
 The parties seem to agree that the testator bore eight children, seven of whom lived past
childhood. Besides that one childhood death, it is unclear from the record when any of the other
children might have died. More importantly, it is unclear how many of the testator’s children
were alive at the time the testator executed his 2012 will and/or his 2019 will. This is of
particular curiosity because in November 2021, Darrick filed pleadings in the correlated probate
action that stated he was the testator’s “only surviving child.”

                                              -3-
             The heirs objected and argued Darrick had not met his burden of

establishing a lack of testamentary capacity. The heirs admitted that the testator

did misstate in the will how many children he had, but it was sufficient that he

“knew he had children that he needed to disinherit for [Susan] to receive his

gifts[.]” Further, they supported their argument with an affidavit from the estate

attorney who prepared wills for the testator in 2012 and again in 2019.

             In 2012, according to the estate attorney’s affidavit, the testator

contacted him for a last will and testament, living will, and durable power of

attorney. At that time, the testator “specifically indicated” that he had four

children and “specifically discussed” disinheriting his four children by way of his

last will and testament. According to the affidavit, the estate attorney prepared and

executed a will for the testator in 2012, essentially leaving everything to Susan and

nothing to his children.

             Then, according to the affidavit, the testator contacted the estate

attorney in June 2019 for changes to the previous will, specifically, a change of the

successor executor. The affidavit implies the change in successor trustee was the

only substantive change, and the 2019 will was “nearly identical” to the 2012 will.

In the affidavit, the estate attorney stated that on the day the testator executed the

will, June 27, 2019, the testator

             was of sound mind and clearly intended his estate to pass
             to his longtime partner, Susan Patton. We shared

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             conversation and, at no time leading up to or during our
             meeting on June 27, 2019, do I believe [the testator] lacked
             the requisite capacity necessary to execute a valid will
             under applicable Kentucky law.

             In February 2022, the circuit court denied Darrick’s motion for

summary judgment (“2022 Order”). The 2022 Order stated that the testator had

eight children throughout his lifetime: five children with his first wife (one of

whom died young, and one he was convicted of raping and sodomizing); and three

children with his second wife. The court determined that while the testator might

not have had actual knowledge of his children, he had sufficient mind to know the

objects of his bounty and “it is possible that [the testator] merely didn’t know how

many of his children were still living, etc. because the family was not close and he

did not keep up with the whereabouts of his children; or that he unfortunately did

not care about his children since the family had a disordered past.”

             The action continued for more than a year, and in February 2023, the

heirs moved for summary judgment. The Jefferson Circuit Court allotted

additional time for Darrick’s reply, but ultimately granted the heirs’ motion in

August 2023. In the order granting the heirs’ motion for summary judgment

(“2023 Summary Judgment”), the circuit court stated that Darrick had not

presented sufficient evidence to support his claims of undue influence or lack of

testamentary capacity. The court stated,




                                         -5-
             [t]here is no evidence that [the heirs] were present during
             the execution of the will or that they had any involvement
             whatsoever in the execution of the will. In addition,
             despite [Darrick’s] averments to the contrary, there has
             been no affirmative evidence presented to support the
             claim that [the testator] lacked mental or physical capacity
             to make testamentary decisions and the involvement of
             legal counsel in the process contradicts any such inference.
             Accordingly, [Darrick] has failed to show any of the
             necessary “badges of undue influence” to support his
             claim[.]

             Darrick appealed.

                         II.   STANDARD OF REVIEW

             Summary judgment is appropriate only “if the pleadings, depositions,

answers to interrogatories, stipulations, and admissions on file, together with the

affidavits, if any, show that there is no genuine issue as to any material fact and

that the moving party is entitled to a judgment as a matter of law.” Kentucky Rule

of Civil Procedure (“CR”) 56.03. As this is a legal question involving no factual

findings, we review the grant of summary judgment de novo. Brown v. Griffin,

505 S.W.3d 777, 781 (Ky. App. 2016) (citation omitted). “[T]he proper function

of summary judgment is to terminate litigation when, as a matter of law, it appears

that it would be impossible for the respondent to produce evidence at the trial

warranting a judgment in his favor.” Steelvest, Inc. v. Scansteel Serv. Ctr., Inc.,

807 S.W.2d 476, 480 (Ky. 1991). While the Court in Steelvest used the word

“impossible” in describing the strict standard for summary judgment, the Kentucky


                                          -6-
Supreme Court later stated that that word was “used in a practical sense, not in an

absolute sense.” Perkins v. Hausladen, 828 S.W.2d 652, 654 (Ky. 1992).

                                     III.    ANALYSIS

              On appeal, Darrick argues the circuit court erred in granting the heirs’

motion for summary judgment because – under these circumstances – the issues of

testamentary capacity and alleged undue influence were matters for a jury to

decide, not a court on a motion for summary judgment. Darrick’s argument has

merit, but due to a lack of evidentiary support, we have no choice but to affirm.

              Kentucky abides by the doctrine of testatorial absolutism, and courts

in the Commonwealth protect a citizen’s privilege to draft wills to dispose of

property. Getty v. Getty, 581 S.W.3d 548, 554 (Ky. 2019). A testator may divide

his estate as he sees fit, albeit with a few requirements.

              To validly execute a will, a testator must: (1) know the
              natural objects of her bounty; (2) know her obligations to
              them; (3) know the character and value of her estate; and
              (4) dispose of her estate according to her own fixed
              purpose.

Bye v. Mattingly, 975 S.W.2d 451, 455-56 (Ky. 1998) (internal citations omitted).

              First, Darrick argues the will is invalid due to a lack of testamentary

capacity.4 That is no easy feat; proving a lack of testamentary capacity is an



4
  The heirs argue that Darrick did not properly preserve this argument because he did not appeal
the 2022 Order adjudicating that argument. However, we do not agree. The 2022 Order did

                                               -7-
“onerous burden.” Rothwell v. Singleton, 257 S.W.3d 121, 124 (Ky. App. 2008).

“In Kentucky there is a strong presumption in favor of a testator possessing

adequate testamentary capacity. This presumption can only be rebutted by the

strongest showing of incapacity.” Mattingly, 975 S.W.2d at 455 (citations

omitted).

               Darrick asserts his father had dementia, as listed on his death

certificate, and it was that dementia that affected his testamentary capacity.

However, Darrick does not link the testator’s mental health at the time he executed

the will to the dementia diagnosis included at the time of his death 19 months later.

Moreover, Darrick cited specific examples of his father’s mental health lapses but

relied only on his own testimony to demonstrate his father’s poor mental health; he

did not present mental health assessments5 or other corroborating witnesses. Even

assuming dementia was relevant at the time the testator executed the will, opinions

alone are not enough to rebut the default presumption that the testator signed

during a lucid interval. See Warnick v. Childers, 282 S.W.2d 608, 609 (Ky. 1955);

see also Mattingly, 975 S.W.2d at 456. “Merely being an older person, possessing


address this argument, but that order was interlocutory and not appealable because it did not
contain finality language nor adjudicate all the claims and rights of the parties. See CR 54.02.
5
  Darrick’s complaint asserts that the testator’s poor mental health was documented by “medical
records generated by the Louisville VA Hospital and other care providers” but it is unclear where
or if those documents were presented to the circuit court prior to summary judgment. While we
are extending great deference and leniency to Darrick as a pro se litigant, we will not scour the
record to decipher if and what arguments are properly and timely supported.

                                                -8-
a failing memory, momentary forgetfulness, weakness of mental powers, or lack of

strict coherence in conversation does not render one incapable of validly executing

a will.” Getty, 581 S.W.3d at 554. In Kentucky, only a minimum level of mental

capacity is required to make a will, less than that necessary to make a deed or sign

a contract. Id. (citations omitted). Darrick did not present corroborating evidence

to the circuit court to support those claims of incapacity. Rather, he points to the

will itself as further evidence.

             Darrick asserts the will on its face establishes a decisive lack of

testamentary capacity because the testator made an unnatural distribution and

inaccurately stated the number of the natural objects of his bounty. Through birth

certificates, Darrick established that the testator had eight children, seven of whom

survived past childhood. Yet, the will states, “I intentionally leave nothing to my

four (4) children.” The will does not elaborate on those familial relationships nor

is it clear why the testator believed he had only four children at that time (in 2012

and again in 2019). Darrick is correct that to validly execute a will, a testator must

know the natural objects of his bounty, but under these circumstances, that

inaccurate number alone – without at least anecdotal or circumstantial evidentiary

support – is not enough to overcome the presumption of testamentary capacity.

              True, the will is unnatural in its provisions (excluding his children),

but the mere fact that a testator made an unequal distribution of his estate between


                                          -9-
his children does not inherently prove a lack of testamentary capacity. See Bottom

v. Bottom, 106 S.W. 216, 217 (Ky. 1907); see also Gerard v. Gerard, 350 S.W.2d

719, 722 (Ky. 1961) (finding that a choice to disinherit a child, whether just or

unjust, does not mean that the testator lacks the capacity to make a will). See

Wallace v. Scott, 844 S.W.2d 439, 441 (Ky. App. 1992) (“[M]erely because one

happens to be the offspring of a testator does not entitle one to be included in an

estate.”). If Darrick had established that the family was close-knit, lived near each

other, stayed connected in each other’s lives, or the like, then inaccurately stating

how many children he had at that time could be fatal to a will. However, the

evidence points to a fractured family with a tumultuous past. Darrick did not

establish that any children other than himself communicated with their father in the

years before his death, nor did Darrick show the testator had recent knowledge of

or interaction with the testator’s other children prior to executing the will. In fact,

it is unclear how many, if any, of Darrick’s siblings were alive at the time the

testator executed the will. The burden was on Darrick to support his argument and

to point this Court to where in the record his arguments are supported. See

Kentucky Rule of Appellate Procedure 32(A)(4).

             The heirs cite Williams v. Vollman, 738 S.W.2d 849 (Ky. App. 1987),

a factually dissimilar case, but helpful, nonetheless. In Williams, the testator

bequeathed assets to his wife and daughter, both of whom were deceased at the


                                          -10-
time he executed the will. Id. at 850. This Court found that even though the

testator did not know the natural objects of his bounty at the time he executed the

will, he had adequate testamentary capacity because, in part, the testator’s family

explicitly withheld knowledge of the wife’s and daughter’s deaths from the testator

on the presumption that such knowledge “might weaken his resolve to live.” Id.
The Williams Court found testamentary capacity because, while testator did not

have actual knowledge of the objects of his bounty, he had “sufficient mind to

know” his bounty. Id. at 850-51. The Court found the testator’s “mental faculties

were intact” and “[t]here is no doubt that the testator would have understood that

his wife and daughter were dead had the family seen fit to inform him.” Id. at 851.

Although factually distinct, Williams demonstrates that the court must review all

surrounding evidence, not just the four corners of the will itself. Unfortunately for

Darrick, he relied on the four corners of the document alone and did not

sufficiently support his capacity argument. It is not enough for Darrick to assert

that his father might have had subtle signs of dementia around 2019 and a peculiar

error in the will itself when the attorney preparing it swore to the testator’s

capacity. To succeed, he needed to present conclusive evidence – beyond his own

opinions and an unexplained error – showing the testator lacked the minimal level

of mental capacity at the time the testator executed the will. See Getty, 581 S.W.3d

at 554-55 (citation omitted) (“The burden is placed upon those who seek to


                                          -11-
overturn the will to demonstrate the lack of capacity. The presumption created is a

rebuttable one, so that evidence which demonstrates conclusively that the testator

lacked testamentary capacity at the time of the execution of the will results in

nullifying the will.”).

               Next, Darrick argues the heirs exerted undue influence upon his father

and that influence resulted in the unnatural distribution.6 Again, Darrick bears the

burden and must demonstrate undue influence “with evidence of substance.” See

Fischer v. Heckerman, 772 S.W.2d 642, 645 (Ky. App. 1989). More specifically,

to succeed on this claim, Darrick needed to show prior to or during the execution

of the will, “the testator was so inappropriately influenced that [he] no longer

possessed the free will to dispose of [his] property in accordance with [his] own

judgment.” Rothwell, 257 S.W.3d at 124-25. This influence must be of such a

degree that “the testator’s free agency is destroyed.” Fischer, 772 S.W.2d at 645
(citation omitted). Further, this proof must go beyond mere opportunity. Nunn v.

Williams, 254 S.W.2d 698, 700 (Ky. 1953). To determine whether a will reflects

the wishes of the testator, the court must examine the “badges” of undue influence.

               [These badges of undue influence] include a physically
               weak and mentally impaired testator, a will unnatural in its
               provisions, a lately developed and comparatively short

6
  Darrick argues the heirs exerted undue influence in the year prior to the testator’s death, but
those accusations are not relevant to this appeal. “Undue influence exercised after the execution
of the will has no bearing whatsoever upon whether the testator disposed of her property
according to her own wishes.” Getty, 581 S.W.3d at 555.

                                              -12-
             period of close relationship between the testator and the
             principal beneficiary, participation by the beneficiary in
             the physical preparation of the will, the possession of the
             will by the beneficiary after it was written, efforts by the
             beneficiary to restrict contacts between the testator and the
             natural objects of his bounty and absolute control of
             testator’s business affairs by a beneficiary.

Fischer, 772 S.W.2d at 645 (citations omitted).

             Here, Susan had been the testator’s paramour for approximately 15

years. The testator and Susan lived together, but there is no evidence she or her

son, Billy, participated in the preparation of the will or had absolute control of the

testator’s business affairs. Darrick argued – but did not establish with

corroborating evidence – that his father was physically weak and mentally

impaired at the time he executed the will and that the heirs restricted contact

between the testator and his children.

             Ultimately, Darrick established at best only one of the badges of

undue influence – that the will was unnatural in its provisions. In Getty, we held

that if the contestant can offer evidence of activities such as participation in the

will preparation or complete control over the testator’s finances, then the burden of

persuasion might shift to the proponents of the will. Getty, 581 S.W.3d 554. The

burden of proof remains on the contestant. Id. Darrick did not offer any such

evidence, and the attorney’s affidavit refuted the unverified claims. However,

even in those situations, “the evidence presented must not merely be a scintilla. It


                                          -13-
must be of sufficient character, substance, and weight to furnish a firm foundation

for a jury’s verdict.” Fischer, 772 S.W.2d at 646 (citing Sloan v. Sloan, 197

S.W.2d 77, 80-81 (Ky. 1946)). “[A] will [may] not be disturbed based on remote

or speculative evidence.” Getty, 581 S.W.3d at 554.

             Here, Darrick asserted both undue influence and the lack of

testamentary capacity, but did not meet his burden of proof. His evidence was not

of sufficient character, substance, or weight to furnish any foundation, firm or

otherwise, for a jury’s verdict. Thus, the heirs are entitled to a judgment as a

matter of law, and the circuit court did not error in granting the heirs’ motion for

summary judgment.

                               IV.    CONCLUSION

             Therefore, the order of the Jefferson Circuit Court is AFFIRMED.

             ALL CONCUR.

 BRIEFS FOR APPELLANT:                     BRIEF FOR APPELLEES:
 Darrick Lee Austin, pro se                Armand I. Judah
 Leitchfield, Kentucky                     Louisville, Kentucky




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